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THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

DR. BRIAN SALVATORE * CIVIL ACTION NO.
a

VERSUS “
* JUDGE

DR. ROBERT SMITH IN HIS OFFICIAL “

CAPACITY AS CHANCELLOR OF *

LOUISIANA STATE UNIVERSITY (“LSUS”) *

AND MR. CARLTON (TREY) JONES *

IN HIS OFFCIAL CAPACITY AS DEPUTY *
GENERAL COUNSEL FOR THE LSU BOARD
OF SUPERVISORS

RRSRRAAARAERR ERRATA HARKER KKREHEE

VERIFICATION

I, Dr. Brian Salvatore hereby declare, under penalty of perjury, that I am the Plaintiff in
this case, that | have reviewed the complaint, and that | verify that all allegations of fact are true
and correct. | further verify that the Exhibits 1-4 are authentic copies of documents which my
attorneys and | have sent and received in connection with my upcoming scheduled termination

hearing on April 8, 2024.

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Singed this day of April 2024.

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Dr. Brian Salvatore
